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AO 91 (Rev. 08/09) Criminal Complaint

lUNITED STATES DISTRICT COURT

for the
Southern District of Texas

 

 

 

United States of America - )
v. )
Gonzalo CoLuGNA-Garcia,YoB: 1983 COB: Ivlexico ) Case N°' V\ _ 1 8 060% \V\
Gustavo LOZANO, YOB: 1987 COB: USA §
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of March 06, 2018 in the county of Hida|go in the
Southern District of Texas , the defendant(s) violated:
Code Section O/j’ense Description
21 U.S.C. § 846 ~ , Conspiray to Possess and Possession With lntent to Distribute Heroin.
21 U.S.C. § 841

This criminal complaint is based on these facts:

SEE AT|'ACH|V|ENT "A"

v/ Continued on the attached sheet.

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Complainant’ s signature

%W/ Jes_usR. Cuellar u..s HSITFO

P) inted name and title

Sworn to before me and signed in my presence.

Date: 3/8/2018
{/Judge/ s signatu) e
City and states |V|cAl|en, Texas gistrate J. Scott Hacker

[Printed name and title

 

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ATTACHMENT A.

On March 06, 2018, an HSI l\/lc_Allen TFO (Agent) observed a Ford Flare Side
_ (MM: WM79337), traveling north bound on Ware Road in McAllen, Texas. The

driver of the vehicle was identified as COLUGNA- Garcia and the passenger was
' identified as Gustavo LOZANO.

Agents followed the Ford Flare Side being driven by COLUGNA travel to the
'Denny’ s restaurant on 10th Street in McAllen, TX. Agents observed COLUGNA
exit the Ford Flare Side and enter the restaurant while LOZANO remained in the
. F ord Flare Side. After approximately five minutes, an agent observed
COLUGNA exit the restaurant and meet back with LOZANO at the Ford Flare
Side. After a short discussion, an agent observed COLUGNA depart the area to
an unknown location. Additionally, the agent observed LOZANO move‘to the
driver’s seat of the Ford Flare Side. The agent observed LOZANO depart the _
parking lot in the Ford Flare Side and continued surveillance on the Ford Flare
Side. As'the Ford Flare Side traveled southbound on 10th Street, the agent 1
observed COLUGNA driving a silver F ord 150 pickup in close proximity to the
Ford Flare Side. Both vehicles were observed traveling in tandem to a residence
in McAllen, Texas. ~ ` '

Agents observed the silver F ord F-l50, later to be determined as a rental vehicle,
back into the garage of the residence located at 3125. Vanessa Street. After the
pickup was in the garage, the garage door closed. A short time later, the garage
door opened and the silver Ford F-l5 0 (TX: JRCOO94) exited the garage.

Surveillance was maintained on both the Ford Flare Side and the silver Fl50 as
they traveled northbound on 10th Street. The Ford Flare Side being driven by
LOZANO was seen entering the parking lot of the same Denny’ s restaurant and
the silver Fl 50 continued northbound.

A traffic stop was conducted on the silver F150 being driven by COLUGNA.
During the stop, COLUGNA denied having been at'the residence on Vanessa
Street. After COLUGNA consented to a search of the vehicle, ~a'narcotics
detection canine alerted to the vehicle during a non-intrusive search.

While the_traffic stop was being conducted on the silver F150, agents continued

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surveillance on LOZANO in the Ford Flare Side. Agents observed that LOZANO
never entered the restaurant After approximately fifteen minutes, LOZANO
departed the parking lot and drove across the street to another parking lot. Again,
- LOZANO did not exit the Ford Flare Side. After approximately five minutes,
LOZANO departed the parking lot and drove to a convenience store at which time
agents approached LOZANO.

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During the interview, LOZANO stated LOZANO and COLUGNA had left the
residence on Vanessa Street, and that LOZANO was looking for COLUGNA.
LOZANO stated that while COLUGNA and he were at the residence, he observed
COLUGNA off load plastic bags from the F150, which LOZANO suspected
contained “something illega .” Further, LOZANO provided the address for the
residence in McAllen, Texas, and stated that other individuals had rented the
residence on behalf of LOZANO for LOZANO’s use. Additionally, LOZANO
stated that the utilities at that residence were in LOZANO’s name.

Agents transported LOZANO and COLUGNA back to the residence on Vanessa
Street. While at the residence, LOZANO consented to a search of the residence
and provided agents with the key for the residence.

A subsequent search of the residence resulted in the discovery of two bundles
containing approximately 2. 12 kilograms of heroin, four bundles of bulk currency
and various materials often use tor wrap narcotics and currency. The bundles of
heroin were located in plastic bags in an utility room.

During an interview, COLUGNA stated that LOZANO had asked him to pick up
the truck so that a stereo could be installed. ~ COLUGNA stated that he entered the
Denny’s restaurant to use the bathroom, and after departing the restaurant,`
LOZANO told him to retrieve the F 15 0. He further stated that the keys were
already in the Fl50. After departing the Denny’s parking lot, they traveled to the
residence on Vanessa Street. COLUGNA stated that while at the residence he
went to bathroom again and remained in the bathroom the entire time he was at
the residence

4 LOZANO was advised of his rights and stated he would not answer any questions
without the presence of an attorney. `

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On March 7, 2018, a narcotics detection canine again alerted to the dash board
area of the F150, and a subsequent search of the vehicle resulted in the discovery
of approximately 4.16 kilograms of heroin in the dash board of the vehicle.

Agents also Searched phones found in the possession of COLUGNA. The search
identified messages between COLUGNA and LOZANO which were sent during
the traffic stop on March 6, 2018 in which LOZANO was instructing COLUGNA
to inform the officer that the F15 0 was a rental vehicle, and that another
individual would call COLUGNA momentarily in regards to the insurance
documentation l

